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UNITED STATES BANKRUPTCY COURT
SOUTHERN DISTRICT OF NEW YORK
In re                                            )    Chapter 11
                                                 )
TRONOX INCORPORATED, et al.,                     )    Case No. 09-10156 (ALG)
                                                 )
                    Debtors.                     )    Jointly Administered
__________________________________________       )

TRONOX INCORPORATED, TRONOX                      )
WORLDWIDE LLC f/k/a Kerr-McGee                   )
Chemical Worldwide LLC, and TRONOX LLC           )
f/k/a Kerr-McGee Chemical LLC,                   )
                                                 )
                   Plaintiffs,                   )
v.                                               )
                                                 )
                                                 )    Adv. Pro. No. 09-01198 (ALG)
ANADARKO PETROLEUM CORPORATION
and KERR-McGEE CORPORATION, KERR-                )
MCGEE OIL & GAS CORPORATION, KERR-               )
MCGEE WORLDWIDE CORPORATION, KERR-               )
MCGEE INVESTMENT CORPORATION, KERR-              )
MCGEE CREDIT LLC, KERR-MCGEE SHARED
SERVICES COMPANY LLC, AND KERR-MCGEE
STORED POWER COMPANY LLC

                    Defendants.
__________________________________________

THE UNITED STATES OF AMERICA,               )
                                            )
                    Plaintiff-Intervenor,   )
v.                                          )
                                            )
TRONOX, INC., TRONOX WORLDWIDE LLC, )
TRONOX LLC, KERR-McGEE CORPORATION )
and ANADARKO PETROLEUM CORPORATION,         )
                                            )
                    Defendants.             )
___________________________________________ )


           ORDER AUTHORIZING DEFENDANTS TO UNSEAL DEFENDANTS’
     MEMORANDUM OF LAW IN SUPPORT OF THEIR MOTION TO EXCLUDE THE
     TESTIMONY OF DR. NEIL M. RAM UNDER FEDERAL RULE OF EVIDENCE 702,
      THE ACCOMPANYING DECLARATION OF THOMAS R. LOTTERMAN, THEIR
       MEMORANDUM OF LAW IN SUPPORT OF THEIR MOTION IN LIMINE AND
        MOTION FOR RELIEF UNDER FRCP 36(a)(6), AND THE ACCOMPANYING
                    DECLARATION OF DUKE K. MCCALL, III
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            Upon the motion of the Defendants in connection with the above-captioned

  proceeding for entry of an order authorizing Defendants to unseal (“Motion to Unseal”) (a)

  their Memorandum of Law in Support of Their Motion to Exclude the Testimony of Dr. Neil

  M. Ram Under Federal Rule of Evidence 702 and the accompanying Declaration of Thomas R.

  Lotterman, and (b) their Memorandum of Law in Support of Their Motion In Limine and

  Motion for Relief under FRCP 36(a)(6) and the accompanying Declaration of Duke K. McCall,

  III, it appearing that: (i) the Court has jurisdiction over this matter pursuant to 28 U.S.C. §§ 157

  and 1334; (ii) this proceeding is a core proceeding pursuant to 28 U.S.C. § 157(b)(2); (iii)

  venue of this proceeding and this Motion to Seal in this District is proper pursuant to 28 U.S.C.

  §§ 1408 and 1409; and (iv) notice of this Motion to Unseal and the opportunity for a hearing on

  this Motion to Unseal was unnecessary under the particular circumstances and that no other or

  further notice need be given; and after due deliberation and sufficient cause appearing

  therefore; it is hereby ORDERED:

            1.         The Motion to Unseal is approved in its entirety;

            2.         Defendants are authorized to take all actions necessary to effectuate the

  relief granted pursuant to this Order in accordance with the Motion to Unseal; and

            3.         The Court retains jurisdiction with respect to all matters arising from or

  related to the implementation of this Order.


  New York, New York

  Dated: April 23, 2012


                                               ____________________________________
                                               s/Allan L. Gropper
                                               UNITED STATES BANKRUPTCY JUDGE



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